
702 S.E.2d 67 (2010)
RAYMOND
v.
NC POLICE BENEVOLENT ASS'N, INC., et al.
No. 230PA10.
Supreme Court of North Carolina.
September 17, 2010.
Kenneth R. Hunt, Asheville, for N.C. Police Benevolent Assn, et al.
Frank J. Contrivo, for Langdon B. Raymond.
Katherine Lewis Parker, for North Carolina Advocates for Justice et al.
Joseph M. McGuinness, Elizabethtown, William J. Johnson, General Counsel, for National Association of Police Organizations.
The following order has been entered on the motion filed on the 16th of September 2010 by Defendant-Appellant by Defendants for Extension of Time to File Brief:
"Motion Denied by order of the Court in conference this the 17th of September 2010."
